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 5   Attorney for Defendant, Viririana Hernandez

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 8                                 UNITED STATES DISTRICT COURT

 9                                 EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                     CASE NO. 1:14-cr-00147-AWI-BAM

12                    Plaintiff,

13          v.                                     STIPULATION AND ORDER TO VACATE
                                                   STATUS CONFERENCE AND SET
14   VIRIRIANA HERNANDEZ,                          CHANGE OF PLEA TO AUGUST 17, 2015

15                    Defendant.

16

17          IT IS HEREBY STIPULATED by and between the Defendant, VIRIRIANA

18   HERNANDEZ, her attorney of record, CAROL ANN MOSES, and Assistant United States

19   Attorney, MICHAEL TIERNEY, that the Status Conference in the above-captioned matter
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     Case 1:14-cr-00147-LJO-BAM Document 73 Filed 08/11/15 Page 2 of 2


 1   currently scheduled for August 24, 2015, at 1:00 p.m. be vacated and the matter be set for change
 2   of plea on August 17, 2015 at 10:00 a.m.
 3

 4   Dated: August 10, 2015                                     /s/ Carol Ann Moses
                                                                CAROL ANN MOSES
 5                                                              Attorney for Defendant,
                                                                VIRIRIANA HERNANDEZ
 6

 7                                                              BENJAMIN B. WAGNER
                                                                United States Attorney
 8
     Dated: August 10, 2015                                     /s/ Michael G. Tierney
 9                                                              MICHAEL G. TIERNEY
                                                                Assistant United States Attorney
10                                                              Attorney for Plaintiff
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13
                                                   ORDER
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15          The court grants the stipulation to vacate the status conference scheduled for August 24,
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     2015, and set this matter for change of plea on August 17, 2015 at 10:00 a.m. Time is excluded
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     pursuant to 18 U.S.C. § 3161(h)(A) and (B).
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20   IT IS SO ORDERED.

21   Dated: August 11, 2015
                                                SENIOR DISTRICT JUDGE
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